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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF DELAWARE

IN RE:
                                                   CASE NO.: 18-11500-LSS
EDUCATION MANAGEMENT
CORPORATION                                        CHAPTER 7


         Debtor(s)


                  NOTICE OF CHANGE FROM NO-ASSET TO ASSET
                  AND REQUEST TO THE CLERK TO FIX BAR DATE
                     TO FILE CLAIMS AGAINST THE ESTATE


        TO THOMAS P. TINKER, ESQ., ACTING ASSISTANT UNITED STATES
TRUSTEE, George L. Miller, the Trustee in the above captioned matter, after due inquiry,
having discovered assets hereby gives Notice that this is an Asset case. The Trustee requests the
Clerk to fix a bar date to file claims against the estate.




Dated: July 5, 2018                                 /s/ George L. Miller
                                                    George L. Miller, Trustee

                                                    1628 John F. Kennedy Blvd.
                                                    Suite 950
                                                    Philadelphia, PA 19103
                                                    (215) 561-0950
                                                    (215) 561-0330 (Fax)
